963 F.2d 384
    U.S.v.Ramirez
    NO. 88-6067
    United States Court of Appeals,Eleventh Circuit.
    May 12, 1992
    
      1
      Appeal From:  S.D.Fla.
    
    
      2
      AFFIRMED.
    
    
      3
      Federal Reporter. The Eleventh Circuit provides by rule that
    
    
      4
      unpublished opinions are not considered binding precedent.
    
    
      5
      They may be cited as persuasive authority, provided that a
    
    
      6
      copy of the unpublished opinion is attached to or
    
    
      7
      incorporated within the brief, petition or motion.  Eleventh
    
    Circuit Rules, Rule 36-2, 28 U.S.C.A.)
    